      Case 1:19-cr-20447-AHS
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                                    U NITED STATES D ISTRICT C OURT
                                            SOUTHERN DISTRICT OFFLOFIDA
                                                FORT LAUDER DALE DW ISION

     IJNiTED STATESoF AM ERICA                                         JUDGM ENT IN A CRIM INAL CXSE
     VS.
                                                                        CaseNumber'
                                                                                  .1:19-CR-20447-AHS(2)
     JA SO N V AN EM A N                                               U SM N um ber:15947-062
                                                                       CounselforDefendant:Sidney ZaleFleischm an and N eil
                                                                       Karadbil          '                  ' '
                                                                       CounselforUnitedStates:ChrisiopherBarrettBrowneand
                                                                        YiselValdes

    TH E D EFEN DA NT :
     Z pleadedguiltytocountts)
           pleadedguiltytocountts)beforeaU.S.Magistrate
           Jud e,whichwasacce tedb thecourt.
           pleadednolocontenderetocountts)whichwas
           acce tedb thecourt
           wasfoundguiltyoncountts)aftefapleaofnot        1,2,4,5,6,7,8,9,10,11,12,13,14,15,16,17,18,19,20,21,22923,24,25,26,28,
            uil                                           29,30,34,35 and 39

    Thedefendantisadjudicatedguiltyoftheseoffenses:
    Thedefendantissentencedasprovidedinpages2through8ofthisjudgment.ThesentenceisimposedpursuknttotheSentencing
    Refofm Actof1984.                                                                        '-        '     '
                                                                                                             C
     Title& Section/NatureofO ffense                                                          OffenseEn21ed       Cou'nt
     18U.S.C.j1349ConspiracytoCommitWireFraud                                                           6/2019      f
.
     l8U.S.C.j1343WireFraud                                                                         09/04/2014      2
     :8U.S.C.j1343WifeFraud                                                                         10/13/2014
     18U.S.C.j1343WireFraud                                                                         02/01/2015
     18U.S.C.j1343WireFraud                                                                         04/01/2015      4
     18U.S.C.j1343WireFraud                                                                          04/07/2015     7
     18U.S.C.j1343WireFraud                                                                          04/20/2015     8
     18U.S.C.j1343WireFraud                                                                         06/02/2015     9
     18U.S.C.j1343WireFraud                                                                         06/02/2015     10.
     18U.S.C.j1343WireFraud                                                                         06/22/2015     11
     18U.S.C.j1343WireFraud                                                                         06/22/2015
     l8U.S.C,j1343WireFraud                                                                         06/22/2015
     l8U.S.C.j1343Wi ieFraud                                                                        06/23/2015
     18U.S.C.51343W ireFraud                                                                        06/23/2015
     J8U.SE .j1343W ireFraud                                                                       06/25/2015
     18U.S.C.j1343 WireFraud                                                                       06/27/2015
     18U.S.C.51343WireFraud                                                                        07/28/201j
     18U.S.C.j1343WireFraud                                                                        08/15/2015      19
     18U.S.C.j1343WireFraud                                                                        10/01/2015      20
     18U,S.C,j1343W ireFraud                                                                       06/29/2016
     18U.S.C.j1343W ireFraud                                                                       07/15/2016      22
     18U.S.C.j1343W ireFraud                                                                       11/21/2017      23
     l8U.S.C.j1343W ireFraud                                                                       12/08/2017      24
     18U.S.C.j1343W ire/raud                                                                      04/09/2019       25
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DEFXNDANT:               JASON VAN EM AN
CASE NUM BER :           1:19-CR-20447-AHS(2)
 Title& Section /NatureofOffense                                                      O ffenseEnded         Count

 18U.S.C.j1956(h)ConspiracytoCommitM oneyLaundering            06/2019
 18U.S.C j1957Meney Laundering                                                        05/19/2015              28
'18U.S.C j 1957 M oney Laundering                                                     05/21/20l5              29
 18U.S.C 5 1957 M oney Laundering                                                     05/28/2015              30
 18U.S.C j 1957M oneyLaundering                                                       06/23/2015              34 ' ''''
 18U,S.C j 1957M oneyLaundering                                                       07/16/2015              35
 l8U.S.C û1957M oneyLaundering                                                        09/02/2015              39
 EEI Thedefendanthasbeenfoundnotguiltyoncountts)
     countts) EEIis EEI aredismissedonthemotionoftheUnitedStates
       Itisorderedthatthedefendantmustnotify theUnited Statesattorney forthisdistrictwithin30 daysofany changeofname,
residence,ormailingaddressuntilallfines,restitmion,costs,andspecialassessmentsimposedbythisjudgtnentarefullypaid.lf
                                                                                                             .

orderedtopay restitution,thedefendantmustnotifythecourtandUnitedStatesattorney ofmaterialchangesin econom ic
circum stances.


                                                         Julv 21.2022
                                                         DateofImpositionofJudgment
                                                                       *.




                                                         SignatureofJu e       *

                                                         M AG SG GH AL
                                                         UNITED STATES DISTRICT JUDGE
                                                         NameandTitleofJudge

                                                         19/
                                                           -          >>
  Case 1:19-cr-20447-AHS
             Case 3:23-cv-04238-LB
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DEFEN DANT:              JASON VAN EM AN
CASENUO ER:               1:19.CR.20447.AHS(2)
                                                 IM PR ISO N M E N T

Thedefendantishereby committed tothecustody oftheUnited StatesBureau ofPrisonstobeimprisonedforatotalterm of:

240 M onthsastoCounts1,2,495,6,7,8,9,10,11,12,13,14,15,16,17,18,19,20,21,22,23,24 and 25 to allrun
Concurrently w ith each other.

120M onthsastoCounts26,28,29,30,34 and 35 to run Concurrently witheach otherand Concurrentlyw ith Counts1,2,4,
5,6,7,8,9,10,11,12,13,14,15,16,17,18r19,20,21,22,23,24 and 25.

22M onthsastoCount39 to run C onsecutiveto Counts1r2,4,596,7,8,9,10911,12,13,14,15,16,17,18,19,20,21922,23,24
25,26,28,29,30,34 and 35.
TO TAL SENTEN CE 262 M ON TH S.

 I
 Z    ThecourtmakesthefollowingrecommendationstotheBureauofPrisons:
          Thedefendantbedesignatedto afacility inBartlesville,Oklahoma.


      Thedefendantisremanded tothècustodyoftheUnited StatesM arshal.
      '
      thedefendantshallsurrendertotheUnitedStatesMarshalforthisdistrict:

           ED                                  EEI a.m.       E1 p.m.     on

           EE) asnotifiedbytheUnitedStatesM arshal.

      Thedefendantshallsurrenderforserviceofsentenceattheinstitution designated by theBureau ofPrisons:

           E(1 before2p. m .on
           Z asnotitiedbytheUnitedStatesMarshal.
           EEI asnotifiedbytheProbationorPretrialServicesOftke.


                                                       R ETUR N
1haveexecutedthisjudgmentasfollows:




                                                                               UNITED STATESMARSHAL

                                                                                        By
                                                                           DEPUTY UNITED STATES MARSHAL
  Case 1:19-cr-20447-AHS
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DEFENDANT:             JA SON VAN EM AN
CASE N UM BER:         1:19-CR-20447-AHS(2)
                                         SU PER V ISED R EL EA SE
Uponreleasefrom imprisonment,thedefendantshallbeon supervisedreleaseforatenu of:Three (3)Yearsasto Counts1,2,4,5,
6,7,8,9,10,11,12,13914915,16,17,18,19,20,21922,23924,25926,28,29,30,34,35 and 39 to aIlrun Concurrentlyw ith
each other.                                                                                               '



                                     M A N D A TO R Y C O N D ITIO N S
     Youm ustnotcom m itanotherfederal,stateorlocalcrim e.
     Youmustnotunlawfully possessacontrolled substance.
     Youmustrefrainfrom any unlawfuluseofacontrolled substance.You mustsubmittoonedrugtestwithin 15daysofreleat
                                                                                                              se
     from imprisonmentandatleasttwoperiodicdrugteststhereaqer,asdetermined by thecourt,               '
           ED Theabovedrugtestingconditionissuspended,basedonthecourfsdeterminationthatyouposea1ow riskoffuture
               substanceabuse.(checkfapplicable)
     (1 Youmustmakerestitut.   ioninaccordancewith 18U.S.C.jj3663and3663A oranyotherstatuteauthorizingasentence
          ofrestitution,(checkfapplicable)
     1X1 YoumustcooperateinthecollectionofDNA asdirectedbytheprobationofficer.(checkfapplicable)
     (E1) YoumustcomplywiththerequirementsoftheSexOffenderRegistrationandNotificationAct(34U.S.C.j20901,et
          seq.)asdirectedbytheprobationofficer,theBureauofPrisons,oranystatesexoffenderregistrationagency inwhich
          youreside,work,areastudent,orwereconvictedofaqualifyingoffense.Lcheckfapplicableq
     Eql YoumustpaMicipateinanapprovedprogram fordomesticviolence.Lcheckfapplicable)
          Youmustcomply with thestandardconditionsthathavebeen adoptedbythiscoul'
                                                                                taswellaswith any additional
 conditionsontheattached page.
  Case 1:19-cr-20447-AHS
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PEFENDANT:                JASON VAN EM AN
UAS:NUMBER:               1:l9.CR.20447-AHS(2)
                                '                                                            .
                                                                                 ,

                            ST A N D A R D C O N D ITIO N S O F SU PER V ISIO N

Aspal4ofyoursupervisedrelease,youmustcomply withthèfollowing standardconditionsofsupervision.Theseconditionsare
imposedbecausethey establishthebasicexpeçtationsforyourbehaviorwhileon supervision andidentifytheminimum toolsneeded
by probationofficerstokeep informèd,reporttothecourtabout,andbring aboutimprovementsin yourconductand condition.

1.Youmu'
       streporttotheprobationofficeinthefederaljudicialdistrictwhereyouareauthorizedtoresidewithin72hoursofyour
releasefrom imprisonment,unlesstheprobationofficerinstructsyou toreportto adifferentprobation officeorwithin adifferrnttime
fr
 .ame.                                .                                                              ,             .
2.Afterinitially repodingtotheprobation office,you willreceiveinstructionsfrom thecourtortheprobation officerabo'
                                                                                                                uthow and
whenyou mustreporttotheprobationofficer,andyoumustreporttotheprobation officerasinstructed.
3.Youmustnotknowinglyleavethefederaljudicialdistrictwhereyouareauthorizedtoresidewithoutfirstget
                                                                                               lingpermissionfrom
thecoul'tortheprobation officer.                                                                  '
4.You mustanswèrtruthfullythequestionsaskedby yourprobation officer.
5.You mustliveataplaceapproved by theprobati
                                           ,on officer.Ifyovplanto changewhereyouliveoranythingaboutyourliving
arrangements(suchasthepeopleyoulivewith),youmustnotifytheprobationofficeratleast10daysbefofethechànge.Ifnotifying
theprobation officerin advanceisnotpossibledueto unanticipatedcircumstances,you mustnotifythepfobation officerwithin72
hoursofbecom ingaw areofachangeorexpectedchange.                                          '
6.You mustallow theprobationofficerto visityouatany timeatyourhomeorelsewhere,andyoumustpermittheprobation officer
totakeanyitemsprohibited by theconditionsofyoursupervisionthatheorsheobservesin plain view.
7.Youmustworkfulltime(atleast30hoursperweek)atalawfultypeofemployment,unlesstheprobationoftkerexcusesyoufrom
doingso.Ifyou donothavef'
                        ull-timeemploymentyou musttrytofind full-timeemployment,unlesstheprobation officerexcuses
youfrom doingso.Ifyouplantochangewhereyouworkoranythingaboutyourwork(suchasyourpositionoryourjob
responsibilities),youmustnotifytheprobationofficeratleast10daysbeforethechange.lfnotifyingtheprobationofficeratleastl0
daysin advanceisnotpossibledueto unanticipatedcircumstances,youmustnotify theprobation officerwithin72 hoursof
becoming awareofachangeorexpectedchapge.
8.You mustnotcomm unicateorinteractwithsomeoneyou know isengagedincriminalactivity.Ifyouknow someonehas'been
convictedofafelony,youmustnotknowingly communicateorinteractwiththatpersonwithoutfirstgetting thepermissionofthe
probation officer.              '
9.Ifyou arearrestedorquestionedby a1aw enforcementofficer,you mustnotifytheprobation officerwithin 72hours.                 .
10.Youmustnotown,possess,orhaveaccesstoatirearm,ammunition,dëstructivedevice,ordangerousweapon(i.e.,anythingthat
wasdesigned,orwasmodifiedfor,thespeciticpurposeèfcausingbodilyinjuryordeathtoanotherpersonsuchasnunchakusor
tasers).
11.Youmustnotactormakeany agreementwith a1aw enforcementagencyto actasaconfidentialhtlmansourceorinformant
withoutfirstgettingthepennissionofthecourt.
12.Iftheprobationofticerdeterminesthatyouposearisktoanotherperson(includinganorganization),theprobationofficermay
requireyoù tonotifytheperson abouttherisk andyou mustcomplywith thatinstruction.Theprobation officermay contactthe
person andconfirm thatyou havenotified theperson abouttherisk.
l3.Youmustfollow theinstructionsoftheprobation officerrelatedtotheconditionsofsupervision.

U.S.Probatioh O ffice Use Only
A U .S.probationofficerhasinstructed m eontheconditionsspecified bythecourtandhasprovided m ew ith awritten copy.ofthis
judgmentcontainingtheseconditions.lunderstandadditionalinfonuationregardingtheseconditionsisavailableat
www .flso.uscourts.cov.        '

 D'
  efendant's Signature
  Case 1:19-cr-20447-AHS
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DEFENDANT:            JASON VAN EM AN
CASE NUM BER:         1:19-CR-20447-AHS(2)
                           SPEC G L C O N D ITIO N S O F SU PER V ISIO N
FinancialDisclosureRequirem ent:Thedefendantshallprovide completeaccessto financialinform ation,
including disclosureofal1businessand personalfnances,to theU.S.Probation Officer.
Unpaid Restitution,Fines,or SpecialAssessm ents:lfthedefendanthasany unpaid amountofrestitution,
fines,orspecialassessm ents,the defendantshallnotify theprobation ofûcerofany materialchange in the
defendant'seconomiccircumstancesthat'mightaffectthedefendant'sability to pay.
  Case 1:19-cr-20447-AHS
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DEFENDANT:               JA SON VAN EM AN
CASE N UM BER:           1:19-CR-20447-AHS(2)
                                  CRIM INAL M ONETARY PENALTIE!
        Thedefendantmust a thetotalcriminalmoneta enaltiesunderthescheduleof a ments a e.
                     A ssessm ent          R estitution       Fine     AV AA Assessm entW JVTA Assessm entWW
 TOTALS                   $3 100.00          $9 l96934.36               $.00
      Thedeterminationofrestitutionisdeferreduntil         AnAmendedludglnentinaCriminalCase(AO245C)willbeentered
      aftersuch determ ination.
 E1 Thedefendantmustmakerestimtion(includingcommunityrestitution)tothefollowingpayeesintheamountlistedbelow.
        Ifthedefendantmakesapartialpayment each payeeshallreceivean approximatelyproportioned payment. However,pursuantto 18U.S.C.
        j3664(i),a11nonfederalvictimsmustbepaidbeforetheUnitedStatesispaid.


      Restimtion amountorderedpursuanttopleaagreement$
      Thedefendantmustpay intereston restitution and atineofmorethan$2,500,unlesstherestitutionorfineispaid in fullbefore
    thefifteenthdayafterthedateofthejudgment,pursuantto 18U.S.C.j3612(9.A11ofthepaymentoptionsonthescheduleof
    paymentspagemaybesubjecttopenaltiesfordelinquencyanddefault,pursuantto 18U.S.C.j3612(g).
 (
 Z) Thecourtdetrrminedthatthedefendantdoesnothavetheabilitytopayinterestanditisorderedthat:
     E71 theinterestrequirementiswaivedforthe EEI fine                       (
                                                                             7j restitution
     EEI theinterestrequirementförthe            E((1 fine                   (E1 restitutionismodifiedasfollows:

RestitutionwithImprisonment-Itisfurtherorderedthatthedefendantshallpayrestitutionintheamountof59,196,934.36jointand
severalwithcodefendants.Duringtheperiodofincarceration,paymentshallbemadeasfollows:(l)ifthedefendantearnswagesin
aFederalPrisonIndustriesIUNICORIjob,thenthedefendantmustpay50% ofwagesealmedtowardthetinancialobligations .
imposedbythisJudgmentinaCriminalCase;(2)ifthedefendantdoesnotworkinatm lcoRjob,thenthedefendantmustpaya
minimum of$25.00perquatertowardthefinancialobligationsimposedinthisorder.Uponreleaseofincarceration,thedefendant
shallpayrestitutionattherateof10% ofmonthlygrossealmings,untilsuch timeasthecoul'
                                                                                tmay alterthatpaymentschedulein the
interestsofjustice.TheU.S.BureauofPrisons,U.S.ProbationOfficeandU.S.Attorney'sOfticeshallmonitorthepaymentof
restitution and reporttothecourtany m aterialchangeinthedefendant'sabilitytopay.Thesepaym entsdonotprecludethe
governmentfrom using otherassetsorincomeofthedefendantto satisfy therestitutionobligations.Therestitution shallbemade
payabletoClerk UnitedStatesCourts,and fom ardedto:
          U.S.CLERK 'S O FFICE
          ATTN:FIN ANCIAL SECTION
          400 NOR TH M IA M IAVENUE,RO O M 8N09
          M IA M I,FLO R IDA 33128-7716
  Case 1:19-cr-20447-AHS
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DEFENDANT:                JA SON VAN EM AN
CASE NUM BER:             1:19-CR-20447-AHS(2)
                                            SC H ED U LE O F PA Y M EN T S
Having assessed thedefendant'sabilityto pay,paymentofthetotalcriminalmonetary penaltiesisdueasfollows:

 A     E) Lumpsum paymentsof$3,100.00dueimmediately,balancedue
Itisordered thattheDefendantshallpay to theUnited Statesa specialassessm entof,
                                                                              $3,100.00 forCounts1,2,4,5,6,7,8,9,
10,11,12,13,14,15,16,17,18,19,20,21,22,23,24,25,26,28,29,30,34,35and 39 ,w hich shallbedueim m ediately. Said
specialassessmentshallbepaid totheClerk,U.S.DistrictCourt.Paymentisto beaddressed to:

        U.S.CLERK 'S O FFICE
        ATTN :FINAN CIA L SECTIO N
        400N ORTH M IAM IAV EN UE,RO OM 8N 09
        M IAM I,FLO RID A 33128-7716

Unlessthecourthasexpresslyorderedotherwise,ifthisjudgmentimposesimprisonment,paymentofcriminalmonetarypenaltiesis
dueduring imprisonment.A11criminalmonetarypenalties,exceptthosepaymentsmadethrough theFederalBureau ofPrisons'
lnmateFinancialResponsibilityProgram,aremadetotheclerk ofthecoul't.

Thedefendantshallreceivecreditf0ral1paymentspreviously madetowardany criminalmonetary penaltiesimposed.

      Jointand Several
       SeeaboveforDefendantand Co-DefendantNamesandCaseNumbers(includingdefendant?,lIl?1d)c/;),TotalAmount,Jointand
       SeveralAm ount,and correspondingpayee,ifappropriate.

       Thedefendantshallforfeitthedefendant'sinterestinthefollowing property totheUnitedStates:
       FORFEITURE ofthedefendant'srighh titleand interestin certain propertyishereby ordered consistentwiththe plea
       agreem ent.TheUnited Statesshallsubm ita proposed O rderofForfeiturewithin threedaysofthisproceeding.

Paymentsshallbeappliedinthefollowingorder:(1)assessment,(2)restitutionprincipal,(3)restitution interest,(4)AVAA assessment,(5)
fineprincipal,(6)tineinterest,(7)communityrestitution,(8)JVTA assessment,(9)penalties,and(10)costs,includingcostofprosecution
andcourtcosts.
